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                            UNITED STATES DISTRICT COURT                                    FILED
                          FOR THE WESTERN DISTRICT OF TEXAS                               May 19, 2022
                                   AUSTIN DIVISION                                   CLERK, U.S. DISTRICT COURT
                                                                                     WESTERN DISTRICT OF TEXAS

ASHLEY M. CONCEPCION,                                                                               jag
                                                                                  BY: ________________________________
                                                                                                          DEPUTY
     Plaintiff,                                     1:21-cv-00744-RP

v.

AFFILIATE ASSET SOLUTIONS, LLC,

     Defendant.

                              AGREED SCHEDULING ORDER

         Pursuant to Federal Rule of Civil Procedure 16, the following Agreed Scheduling

Order is issued by the Court:

1.       A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

         filed on or before October 15, 2022.

2.       The parties asserting claims for relief shall submit a written offer of settlement to opposing

         parties on or before June 8, 2022, and each opposing party shall respond, in writing, on or

         before June 15, 2022. All offers of settlement are to be private, not filed. The parties are

         ordered to retain the written offers of settlement and responses so the Court may use them

         in assessing attorney’s fees and costs at the conclusion of the trial.

3.       Each party shall complete and file the attached “Notice Concerning Reference to

         United States Magistrate Judge” on or before May 11, 2022.

4.       The parties shall file all motions to amend or supplement pleadings or to join

         additional parties on or before June 17, 2022.

5.       All parties asserting claims for relief shall file their designation of testifying experts and

         serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure

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     26(a)(2)(B) on or before August 30, 2022. Parties resisting claims for relief shall file their

     designation of testifying experts and serve on all parties, but not file, the materials required

     by Federal Rule of Civil Procedure 26(a)(2)(B) on or before

     October 15, 2022. All parties shall file all designations of rebuttal experts and serve on

     all parties the material required by Federal Rule of Civil Procedure 26(a)(2)(B) for such

     rebuttal experts, to the extent not already served, 15 days from the receipt of the report of

     the opposing expert.

6.   An objection to the reliability of an expert’s proposed testimony under Federal Rule of

     Evidence 702 shall be made by motion, specifically stating the basis for the objection and

     identifying the objectionable testimony, within 11 days from the receipt of the written

     report of the expert’s proposed testimony, or within 11 days from the completion of the

     expert’s deposition, if a deposition is taken, whichever is later.

7.   The parties shall complete all discovery on or before October 31, 2022.

8.   All dispositive motions shall be filed on or before December 16, 2022 and shall be limited

     to 20 pages. Responses shall be filed and served on all other parties not later than 14 days

     after the service of the motion and shall be limited to 20 pages. Any replies shall be filed

     and served on all other parties not later than 7 days after the service of the response and

     shall be limited to 10 pages, but the Court need not wait for the reply before ruling on the

     motion.

9.   The Court will set this case for final pretrial conference at a later time. The final pretrial

     conference shall be attended by at least one of the attorneys who will conduct the trial

     for each of the parties and by any unrepresented parties. The parties should consult Local

     Rule CV-16(e) regarding matters to be filed in advance of the final pretrial conference.

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10.

      This case is set for Jury trial commencing at 9:00 a.m. on April 10, 2023.

      By filing an agreed motion, the parties may request that this Court extend any deadline set

      in this Order, with the exception of the dispositive motions deadline and the trial date. The

      Court may impose sanctions under Federal Rule of Civil Procedure 16(f) if the parties do

      not make timely submissions under this Order.




         SIGNED on        May 19, 2022.




                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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